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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                         )
                                                  )
                    Plaintiff,                    )
                                                  )
v.                                                )     Case No. CR-10-235-D-3
                                                  )
TRINA TAHIR,                                      )
                                                  )
                    Defendant.                    )

                        DEFENDANT TRINA TAHIR’S
                     OBJECTIONS TO SECOND REVISED
                   PRESENTENCE INVESTIGATION REPORT
                       PREPARED DECEMBER 20, 2013

      COMES NOW the defendant, Trina Tahir (“Ms. Tahir”) by and through her attorney

Bill Zuhdi, and submits the following objections to the second revised Presentence

Investigation Report prepared December 20, 2013 [Doc. No. 292]. Ms. Tahir also maintains

her objections to the original presentence investigation report prepared July 28, 2011 and

revised and addendum attached dated October 18, 2011 [Doc. No. 189].

Objections to the Second Revised Report

1.    Objection to paragraph 63 Adjustment for obstruction of justice and objection to ¶63a.

      that it appears Ms. Tahir willfully obstructed or impeded or attempted to obstruct or

      impeded the administration of justice with respect to sentencing. Ms. Tahir submits

      she did not willfully obstruct or impede or attempt to obstruct or impede the

      administration of justice.


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       USSG §3C1.1 Commentary Application Notes 2. Limitations on Applicability of

Adjustment provides that a denial of guilt or a refusal to admit guilt or a refusal to enter a

plea of guilty is not a basis for application of this provision. Application Note 2. does not

harness the denial of guilt or the refusal of guilt with a time frame, only that they are “not

a basis for application of this provision.”USSG §3C1.1 Commentary Application Notes 2.

       The enhancement for obstruction of justice is based upon Ms. Tahir’s exercise of a

constitutional right, her denial of guilt and her refusal to admit guilt. Ms. Tahir also objects

to the factual allegations in paragraphs 63 and 63a., that she was malingering or exaggerating

symptoms for secondary gain, that her requests to withdraw her plea were not caused by her

mental confusion or coercion by her counsel, and that it appears she willfully obstructed the

administration of justice with respect to sentencing.

2.     Objection to ¶ 64, Adjustment for Acceptance of Responsibility. Ms. Tahir objects

       to an acceptance of responsibility adjustment not being deemed appropriate.

       Ms. Tahir was denied her motion to withdraw plea of guilty and as a result faces the

consequences of her change of plea to guilty. Acceptance of responsibility was found

applicable to Ms. Tahir in the initial presentence investigation report. ¶74, Presentence

Investigation Report prepared July 28, 2011. Since Ms. Tahir faces the consequences of her

change of plea, she should also receive all the factors encompassed in the consequences,

including the benefit of not putting the government of its burden of proof at trial. USSG

§3E1.1. By Ms. Tahir’s motion to withdraw her plea of guilty and subsequent denial of the


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motion, the government did not have to prepare for trial and try the case as a result of the

court’s denial of the motion.

       The government not being put to its burden of proof at trial was not attributable to Ms.

Tahir since she moved the court to allow her to withdraw her plea, but the result was the

same as if Ms. Tahir had persisted in her initial plea of guilty in that the government was not

put to its burden at trial.

       At the hearing on the motion to withdraw plea of guilty Ms. Tahir did not testify so

as to not trigger any obstruction of justice adjustment based upon perjury. Ms. Tahir submits

maintaining her innocence does not constitute obstruction of justice. The maintaining of her

innocence and her desire to withdraw her plea of guilty based upon her belief she is innocent

(also coercion and overmedication and related medical issues) should also not, she

respectfully submits, be a basis to removal of the acceptance of responsibility downward

adjustment.

3.     Objection to paragraph 72 Adjustment for Obstruction of Justice.

4.     Objection to Adjusted Offense Levels in paragraphs 73 and 75, and objection to Total

       Offense Level in paragraph 77.

5.     Objection to paragraph 108 to the total offense level of 26.

6.     Objection to ¶ 118 restitution in the amount of $553,392.07 in that the banks and

       financial institutions are not victims as defined in 18 U.S.C. § 3663A, notwithstanding




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      the plea agreement and cite to 18 U.S.C. §§ 3663(a)(3) and 3663A. ¶4 of the Plea

      Agreement [Doc. No. 93].

7.    Part E, paragraph no. 120,factors that may warrant a departure, and Part F, paragraph

      121, factors that may warrant a sentence outside of the advisory guideline system, will

      be offered in a sentencing memorandum, as well as case law and argument in support

      of the objections. Ms. Tahir, by way of separate filing, will be submitting a

      sentencing memorandum to respectfully offer assistance to the Court in the exercise

      of the Court’s discretion in imposing a sentence upon her.

Objections to presentence investigation report prepared July 28, 2011

8.    Ms. Tahir maintains her objections to the original presentence investigation report

      prepared July 28, 2011 and revised and addendum attached dated October 18, 2011

      [Doc. No. 189], and adds that she has additional objections to the loss amounts and

      restitution in the following paragraphs:

      ¶26 loss amount of $126, 109.24

      ¶32 loss amount of $110,235.56

      ¶39 loss amount of $60,663.87

      ¶43 loss amount of $38, 061.88

      ¶48 loss amount of $42,455.99

      ¶53 loss amount of $85,707.75

      ¶57 loss amount of $90,157.78


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       ¶58 and the losses contained therein and the total loss of $553,392.07

       ¶118 restitution in the amount of $553,392.07

       The additional objections are that regarding Ms. Tahir, any losses that resulted from

the offense were not reasonably foreseeable pecuniary harm to her, and that Ms. Tahir did

not know and under the circumstances reasonably could not have known that the losses were

a potential result of the offense. USSG § 2B1.1 Commentary, Application Note 3.(A)(i) and

(iv). Restitution should not be ordered since any losses were not reasonably foreseeable to

Ms. Tahir and under the circumstances she could not have not known the losses were a

potential result of the offense.

                                          Respectfully submitted,

                                          s/ Bill Zuhdi
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                                   Certificate of Service
       I hereby certify that on January 13, 2014, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:

AUSA Scott Williams via scott.e.williams@usdoj.gov
AUSA Chris Stephens via chris.stephens@usdoj.gov
Sean Bernhard via email: sean_Bernhard@okwp.uscourts.gov

                                          s/Bill Zuhdi
                                          Bill Zuhdi



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